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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF TEXAS

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Sourcewater, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Sourcenergy
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  1801 Main Street, Suite 1300
                                  Houston, TX 77002
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Harris                                                        Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.sourcewater.com; www.sourcenergy.com


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    Sourcewater, Inc.                                                                        Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above
                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                7389

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check        Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                               When                                Case number
                                                 District                               When                                Case number




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Debtor    Sourcewater, Inc.                                                                             Case number (if known)
          Name

10. Are any bankruptcy cases
    pending or being filed by a
                                            No
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor                                                                   Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                           5001-10,000                               50,001-100,000
                                        50-99
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion

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Debtor   Sourcewater, Inc.                                                            Case number (if known)
         Name

                              $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                              $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                              $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




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Debtor    Sourcewater, Inc.                                                                        Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 17, 2023
                                                  MM / DD / YYYY


                             X /s/ Joshua A. Adler                                                        Joshua A. Adler
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Executive Officer




18. Signature of attorney    X /s/ Jarrod B. Martin                                                        Date March 17, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Jarrod B. Martin
                                 Printed name

                                 Chamberlain, Hrdlicka, White, Williams, & Aughtry, P.C.
                                 Firm name

                                 1200 Smith Street
                                 Suite 1400
                                 Houston, TX 77002
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (713) 658-1818                Email address      jarrod.martin@chamberlainlaw.com

                                 24070221 TX
                                 Bar number and State




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B2030 (Form 2030) (12/15)
                                                       United States Bankruptcy Court
                                                               Southern District of Texas
 In re       Sourcewater, Inc.                                                                                Case No.
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 77,413.00
             Prior to the filing of this statement I have received                                        $                 52,413.00
             Balance Due                                                                                  $                 25,000.00

2.   $      1,738.00      of the filing fee has been paid.

3.   The source of the compensation paid to me was:

              Debtor            Other (specify):

4.   The source of compensation to be paid to me is:

              Debtor            Other (specify):

5.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.
          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
     e. [Other provisions as needed]
             Negotiate with creditors and parties in interest, assist in planning for the filing, assist in the preparation of
             necessary motions for relief, assist in resolving litigation claims, and planning for the orderly reorganization, as
             the case may be, of your financial affairs. After the petition is filed, prosecuting the bankruptcy case, appearing in
             court, negotiating with counterparties, analyzing claims (including litigation claims), and litigating to defend the
             plan through a court-approved process.

                  The engagement is on an hourly basis and the $75,000 is merely a retainer for such services. the filing fee will be
                  paid at the time of filing from these funds.

7.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
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In re     Sourcewater, Inc.                                                                         Case No.
                                                  Debtor(s)

                    DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                       (Continuation Sheet)
                                                                CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

   March 17, 2023                                                        /s/ Jarrod B. Martin
   Date                                                                  Jarrod B. Martin
                                                                         Signature of Attorney
                                                                         Chamberlain, Hrdlicka, White, Williams, & Aughtry, P.C.
                                                                         1200 Smith Street
                                                                         Suite 1400
                                                                         Houston, TX 77002
                                                                         (713) 658-1818 Fax: (713) 658-2553
                                                                         jarrod.martin@chamberlainlaw.com
                                                                         Name of law firm
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                                                               United States Bankruptcy Court
                                                                     Southern District of Texas
 In re      Sourcewater, Inc.                                                                                     Case No.
                                                                                     Debtor(s)                    Chapter    11



                                     DECLARATION FOR ELECTRONIC FILING OF BANKRUPTCY
                                         PETITION, LISTS, STATEMENTS, AND SCHEDULES

PART I: DECLARATION OF PETITIONER:

         As an individual debtor in this case, or as the individual authorized to act on behalf of the corporation,
partnership, or limited liability company seeking bankruptcy relief in this case, I hereby request relief as, or on behalf of,
the debtor in accordance with the chapter of title 11, United States Code, specified in the petition to be filed electronically
in this case. I have read the information provided in the petition, lists, statements, and schedules to be filed electronically
in this case and I hereby declare under penalty of perjury that the information provided therein, as well as the social
security information disclosed in this document, is true and correct. I understand that this Declaration is to be filed with
the Bankruptcy Court within seven (7) business days after the petition, lists, statements, and schedules have been filed
electronically. I understand that a failure to file the signed original of this Declaration will result in the dismissal of my
case.

           I hereby further declare under penalty of perjury that I have been authorized to file the petition, lists, statements,
            and schedules on behalf of the debtor in this case.

 Date: March 17, 2023                                          /s/ Joshua A. Adler
                                                               Joshua A. Adler, Chief Executive Officer

PART II: DECLARATION OF ATTORNEY:

        I declare under penalty of perjury that: (1) I will give the debtor(s) a copy of all documents referenced by Part I
herein which are filed with the United States Bankruptcy Court; and (2) I have informed the debtor(s), if an individual
with primarily consumer debts, that he or she may proceed under chapter 7, 11, 12, or 13 of title 11, United States Code,
and have explained the relief available under each such chapter.

 Date:         March 17, 2023                                                              /s/ Jarrod B. Martin
                                                                                           Jarrod B. Martin, Attorney for Debtor
                                                                                           1200 Smith Street
                                                                                           Suite 1400
                                                                                           Houston, TX 77002
                                                                                           (713) 658-1818 Fax:(713) 658-2553




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